          Case 2:18-cv-01847-APG-DJA Document 61 Filed 01/11/21 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 DAVID L. REED,                                          Case No.: 2:18-cv-01847-APG-DJA

 4          Plaintiff                                Order Affirming Magistrate Judge’s Order

 5 v.                                                              [ECF Nos. 40, 43]

 6 NORTH LAS VEGAS POLICE
   DEPARTMENT, et al.,
 7
        Defendants
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 9         Plaintiff David L. Reed filed a motion to join multiple claims and defendants (ECF No. 38)

10 and a motion for appointment of counsel (ECF No. 39). Magistrate Judge Albregts denied those

11 motions. ECF No. 40. Mr. Reed filed an appeal of that order. ECF No. 43. I have reviewed the

12 appeal, Judge Albregts’ Order, and the underlying papers. Judge Albregts’ Order is not “clearly

13 erroneous or contrary to law.” Local Rule IB 3-1(a).

14         I HEREBY ORDER that Magistrate Judge Albregts’ Order (ECF No. 40) is affirmed in

15 its entirety, and Mr. Reed’s appeal (ECF No. 43) is denied.

16         DATED this 11th day of January, 2021.

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                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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